UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WISCONSIN

UNITED STATES OF AMERICA

Vv. SENTENCING MINUTES

DEJAN ZORIC Case No. 21-cr-0223-bhl-7
HONORABLE BRETT H. LUDWIG presiding Time Called: 11:02 a.m.
Proceeding Held: December 9, 2024 Time Concluded: 11:34 a.m.
Deputy Clerk: Julie D. Court Reporter: J. Stake
Appearances:
UNITED STATES OF AMERICA by: Christopher Ladwig
DEJAN ZORIC in person and by: Dennis Coffey
US PROBATION OFFICE by: Daniel Dragolovich

The parties have no objections to the factual The parties have no objections to the application of
statements in the PSR the guidelines in the PSR

XJ} The Court adopts the factual statements and
guideline application as set forth in the PSR

The government presents sentencing argument: The defendant presents sentencing argument:

guideline sentence probation with home detention
Defendant exercises right of allocution. The Court imposes sentence.
The government dismisses the Indictment Defendant advised of appeal rights.

The government moved for an additional one-level decrease pursuant to U.S.S.G. § 3E1.1(b) because the
defendant timely notified authorities of his intention to enter a plea of guilty. The Court granted the motion.

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SENTENCE IMPOSED: one (1) year and one day
SUPERVISED RELEASE: one (1) year

MONETARY PENALTIES

Special Assessment: $ 100.00 due immediately
Fine: $ fine waived
Restitution: $ None

FORFEITURE

[] All property forfeited upon conviction or by order of the Court shall be included in the criminal judgment.
RECOMMENDATIONS

The Court recommends the defendant’s placement at a facility in close proximity to Las Vegas, Nevada.

[1 The Court recommends the defendant’s participation in the Bureau of Prisons’ 500-hour drug treatment

program.
C] Other:

CUSTODY

CL] The defendant is remanded to the custody of the U.S. Marshal Service for processing.
The defendant is to voluntarily surrender at the institution designated by the Bureau of Prisons as notified by
the U.S. Probation Office; I no sooner than January 9, 2025

CONDITIONS OF SUPERVISED RELEASE/PROBATION

x]

The defendant does not object to the conditions of supervised release as set forth in the presentence
investigation report.
The defendant waives reading of the conditions of supervised release.

Kk 6 OM

Mandatory Conditions of Supervision imposed.

Xx]

The Court adopts the Conditions of Supervision set forth in the presentence investigation report without
change.

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